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                  BEFORE THE UNITED STATES JUDICIAL PANEL
                       ON MULTIDISTRICT LITIGATION



IN RE: ORAL PHENYLEPHRINE                   MDL NO. 3089
MARKETING AND SALES PRACTICES
LITIGATION




                         PLAINTIFF’S SCHEDULE OF ACTIONS

 CAPTION AND PARTIES         DISTRICT CASE NUMBER                  JUDGE
                             /DIVISION
 Sandra Yousefzadeh v.       E.D.N.Y.  No. 2:23-cv-06825   Hon. Nicholas G. Garaufis
 Johnson & Johnson
 Consumer Inc.




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